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EXHIBIT A

Google Presentation to Mattel
Insights on Families Online (partial)
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YouTube is today’s leader in reaching children age 6-11 against top TV
channels

63% 63% 57% 49%
Yougiiirs Sig» TIN

CHANNEL CARTOON NETWORK.
YouTube com TV Properties V Properties

 

TV Properties

Source: Nielsen MRI 2015 Kids Study

YouTube Reach in the last 30 days, Desktop Only Google

Mobile not available

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EXHIBIT B

Google Presentation to Hasbro,
Stat Pack: Additional insight into mobile usage among parents +
children (partial)
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Google

Stat Pack: Additional insight into mobile usage
among parents + children

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YouTube is unanimously

voted as the favorite
website of kids 2 - 12

Age 2 Age 3 Age 4 Age 5 Age 6 Age7 Age 8 Age 9 Age 10

 

GOOG-YTCID-00031604
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93%

of tweens visit YouTube
to watch videos

Age 2 Age 3 Age 4 Age 5 Age 6 Age7 Age 8 Age 9 Age 10

 

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EXHIBIT C .

Google Presentation to Hasbro,
2016 Kids + Family Digital Trends (partial)
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| in fact, it’s the #1 website regularly visited by kids

INDEXED TO :
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According to parents...
YouTube is the #1 source where children discover new toys + games

30%

22.5%

i Kids 2-5

15%

WW Kids 6-11

7.5%

    

Videos '

Source: Google Consumer Surveys July 2016, Parents of Children 2-14, 1683 responses

 

GOOG-YTCID-00024746
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| YouTube: The new “Saturday Morning Cartoons”
41% of parents watch family content on YouTube together with their children

W25-49 Watching “Cartoons” on YouTube

 

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Google Sitar Aube

 

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